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                                             EXHIBIT A

                                           DEFINITIONS

        Unless otherwise indicated, the following definitions shall be applicable to the terms used

in this notice:

        1.        “Allied World,” “Defendant,” “You,” or “Your” means Defendant Allied World

National Assurance Company and your present and former corporate affiliates, divisions, parent

companies, subsidiaries, predecessors in interest, successors, assignees, officers, employees,

agents, directors, representatives, and counsel.

        2.        “Pollution Policy” means Your insurance policy that you sold to Plaintiff bearing

Policy No. 0309-1873.

        3.        “Complaint” refers to the complaint that Plaintiff filed in the above-captioned case

on December 21, 2020 (Dkt. 1).

        4.        “Pollution Claim” refers to Plaintiff’s claim for insurance coverage under Your

Pollution Policy as referenced in the allegations in the Complaint in the above-captioned matter.

        5.        “Communications” means the transmittal or receipt of information, including, but

not limited to, telephone conversations, meetings, conferences, text messages, instant messages,

Microsoft Lync/Skype for Business messages, Slack communications, meeting invites, written
correspondence or other mailings, facsimiles, emails, or other data transmissions of any type or

nature, whether oral, electronic, or written.

                                   TOPICS OF EXAMINATION

        The topics upon which the person or persons designated by You are asked to be prepared

to testify are:
         1.     Your handling and investigation of the Pollution Claim and Your determination of

coverage for the Pollution Claim, including the individuals involved and the role and responsibility

of each, and the factual bases for Your determination that coverage was not triggered.
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        2.       The basis for Your assertion that “Plaintiff has failed to establish or prove that its

claim falls within the insuring agreement of the Pollution Policy.” (Allied’s Interrogatory Nos. 18,

19, 22).

        3.       Your practices and procedures for handling and investigating Plaintiff’s Pollution

Claim, including any computer or other systems utilized, and any written procedures, including

manuals, instructions, guidelines, or similar documents provided to or used in handling and

investigating the Pollution Claim.

        4.       Any training conducted by You or Your claims handlers, claims adjusters, and other

claims representatives regarding the procedures for handling and investigating Plaintiff’s Pollution

Claim, including any on-the-job training and any written materials used by You in connection with

such training.

        5.       Your practices, processes, procedures, training, and protocols for how You

investigated or otherwise determined whether coverage exists for Plaintiff’s “business interruption

costs resulting from business interruption caused solely and directly by a pollution incident on, at

or under a scheduled location,” as stated in Section I.5. of the Pollution Policy.

        6.       Any determinations or assessments regarding coverage or potential coverage for

Plaintiff’s Pollution Claim, whether written or oral.

        7.       Your interpretation and understanding of “Business Interruption Coverage” as set

forth in Section I.5. of the Pollution Policy as it relates to Plaintiff’s Pollution Claim.

        8.       Your interpretation and understanding of what constitutes a business interruption

“caused solely and directly by a pollution incident” as stated in Section I.5. of the Pollution Policy

as it relates to Plaintiff’s Pollution Claim.




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         9.     Your interpretation and understanding of what constitutes a “business interruption”

as stated in Section VII.3. of the Pollution Policy as it relates to Plaintiff’s Pollution Claim.

         10.    Your interpretation and understanding of what constitutes “business interruption

costs” as stated in Section VII.4. of the Pollution Policy as it relates to Plaintiff’s Pollution Claim.

         11.    Your interpretation and understanding of what constitutes a “pollution incident” as

stated in Section VII.23. of the Pollution Policy as it relates to Plaintiff’s Pollution Claim.

         12.    Your contention that there is no business interruption coverage where “business

interruption is the result of an alleged covered pollution incident and some other cause[.]”

(Opening Brief in Support of Allied’s Motion for Judgment on the Pleadings).

         13.    Any investigation, assessment, or evaluation that You performed to determine

whether the presence of COVID-19 constitutes a “pollution incident” with respect to the Pollution

Claim.

         14.    Any investigation, assessment, evaluation, or testing that You performed to

determine whether the presence of COVID-19 was “on, at or within building or structures” insured

under the Pollution Policy, as stated in Section VII.23. of the Pollution Policy.

         15.    The drafting of the Pollution Policy, including all endorsements.

         16.    Your underwriting, placement, and assessment of the risks associated with the

Pollution Policy and any predecessor thereof, including the individuals involved and the role and

responsibility of each.

         17.    Your Communications with Plaintiff, or anyone acting on Plaintiff’s behalf,

regarding the Pollution Claim and the underwriting, placement, and assessment of the Policy and

any predecessor thereof.




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       18.    Your document retention policies and procedures for how materials relating to the

Pollution Claim were preserved.




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